                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


 UNIVERSITY OF TENNESSEE RESEARCH
 FOUNDATION,

                                 Plaintiff,
 v.                                                      Case No. 3:19-CV-00508 (CLC)(HBG)

 CAELUM BIOSCIENCES, INC.,

                                 Defendant.


                           CAELUM BIOSCIENCES, INC.’S
                    MOTION TO DISMISS THE AMENDED COMPLAINT

        Defendant Caelum Biosciences Inc. (“Caelum”), by and through its undersigned counsel,

 hereby submits this Motion to Dismiss. As explained in Caelum’s Memorandum of Law in

 Support of its Motion to Dismiss the Amended Complaint:

        1.      First, the Amended Complaint should be dismissed because Plaintiff still has not

 met its burden to establish through specific facts that Caelum is subject to personal jurisdiction in

 Tennessee. There is no general jurisdiction over Caelum, which is a Delaware Corporation with a

 principal place of business in New Jersey. There is no specific jurisdiction over Caelum because:

 (i) it did not purposely avail itself of Tennessee; (ii) it took no actions in Tennessee that gave rise

 to the causes of action set forth in the Amended Complaint; and (iii) it would be unreasonable to

 subject Caelum to jurisdiction in Tennessee.

        2.      Second, the Amended Complaint should be dismissed because of Plaintiff’s refusal

 or inability to name as a party Columbia University (“Columbia”), which is necessary and

 indispensable to this action.     The Amended Complaint alleges that Columbia and Caelum

 improperly entered into an Exclusive Licensing Agreement that transferred to Caelum certain

 rights that Plaintiff claims belonged to it. Consequently, Plaintiff’s claims against Caelum cannot



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 succeed unless and until the Court first concludes that Columbia licensed rights it never had.

 Under these circumstances, Columbia is a necessary party under Federal Rule of Civil Procedure

 19(a)(1)(B)(i)-(ii) and an indispensable party under Rule 19(b)(1).

        3.      Third, the Amended Complaint should be dismissed for failure to state a claim

 under Federal Rule of Civil Procedure 12(b)(6). Five of Plaintiff’s six tort claims are preempted

 by Tennessee’s Uniform Trade Secrets Act (the “UTSA”) and are subject to immediate dismissal.

 See TENN. CODE ANN. § 47-25-1708; Hauck Mfg. Co. v. Astec Indus., Inc., 375 F. Supp. 2d 649

 (E.D. Tenn. 2004) (Collier, J.). These five tort claims also suffer from additional pleading

 deficiencies that form independent bases for dismissal.

        4.      Fourth, Plaintiff’s breach of contract claim fails to state a claim because the

 confidentiality agreement upon which it is based is unenforceable due to there being no

 consideration, no performance, and no damages suffered.

        5.      Lastly, Plaintiff fails to state an UTSA claim because there are no protectable trade

 secrets alleged.

 Of Counsel:                                       Respectfully Submitted,

 DLA PIPER LLP (US)                                PAINE TARWATER & BICKERS LLP

 Christopher M. Strongosky (pro hac vice)          By: /s/ John W. Elder
 Michael D. Hynes (pro hac vice)                       John W. Elder (BPR #022775)
 1251 Avenue of the Americas, 27th Floor               Lindsey M. Collins (BPR #033426)
 New York, NY 10020                                    Thomas H. Jarvis (BPR #036835)
 (212) 335-4500                                        900 South Gay Street, Suite 2200
 christopher.strongosky@us.dlapiper.com                Knoxville, TN 37902
 michael.hynes@us.dlapiper.com                         (865) 525-0880
                                                       jwe@painetarwater.com
 Lisa A. Haile*                                        lmc@painetarwater.com
 4365 Executive Drive, Suite 1100                      thj@painetarwater.com
 San Diego, CA 92121
 (858) 677-1400                                         Attorneys for Defendant Caelum
 lisa.haile@us.dlapiper.com                             Biosciences, Inc.

 *Pro Hac Vice Application Forthcoming




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                            MEET & CONFER CERTIFICATION

        Counsel for Plaintiff and Caelum met on March 27, 2020 regarding Caelum’s Motion to

 Dismiss the Amended Complaint and whether further amendment could cure Plaintiff’s deficient

 pleading. The parties have been unable to agree that Plaintiff’s Amended Complaint is curable by

 further amendment.




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                                     CERTIFICATE OF SERVICE

        I hereby certify that on this the 27th day of March, 2020, I have electronically filed the

 foregoing document with the Clerk of the Court using the CM/ECF system. Notice of this filing

 will be sent to all parties and counsel of record by operation of the Court’s CM/ECF system. All

 other parties will be served by regular U.S. Mail. Parties may access this filing through the

 Court’s electronic filing system.

                                                              /s/ John W. Elder




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